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         EXHIBIT A
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              IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS

DENISE CHIARELLI                                       )
                                                       )
                       Plaintiff,                      )               Case No. 19CV04072
v.                                                     )               Division 2
                                                       )
SAM’S WEST INC. D/B/A                                  )
OVERLAND PARK SAM’S CLUB,                              )
                                                       )
                       Defendant.                      )

               DEFENDANT SAM’S WEST INC.’S NOTICE OF REMOVAL

       I hereby certify that a copy of the Notice of Removal in the above-styled action has been

filed in the United States District Court for the District of Kansas, on this 22nd day of August, 2019.

       A copy of the Notice of Removal is attached hereto as Exhibit 1.



                                               Respectfully submitted,

                                               /s/James R. Jarrow
                                               James R. Jarrow                     KS# 14287
                                               BAKER STERCHI COWDEN & RICE, L.L.C.
                                               9393 W. 110th St., Suite 500
                                               Overland Park, KS 66210
                                               Telephone:            (913) 451-6752
                                               Facsimile:            (816) 472-0288
                                               Email:                jarrow@bscr-law.com

                                               ATTORNEY FOR DEFENDANT
                                               SAM’S WEST INC.




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                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that the foregoing document was electronically filed with

the Clerk of the Court on this 22nd day of August, 2019, which will send notification of the same

to all counsel of record.


                                              /s/James R. Jarrow




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                                                                            19CV04072
                                                                            Div2




                                       Clerk of the District Court, Johnson County Kansas
                                                                    07/30/19 12:42pm MM
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                                       Clerk of the District Court, Johnson County Kansas
                                                                    07/30/19 12:42pm MM
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                                                   Div2




                                      Clerk of the District Court, Johnson County Kansas
                                                                     08/06/19 10:43am SS
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               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



DENISE CHIARELLI
                              Plaintiff                              Case No: 19CV04072
               vs                                                    Division: 2
                                                                     K.S.A. Chapter 60
SAM'S WEST, INC. D/B/A OVERLAND PARK SAM'S CLUB
                        Defendant



                          REQUEST AND SERVICE INSTRUCTION FORM


To: Clerk of the District Court:


Please issue a SUMMONS and PETITION in this action for SAM'S WEST, INC. D/B/A OVERLAND
PARK SAM'S CLUB whose address for service is:

       112 SW 7TH STREET, SUITE 3C
       TOPEKA, KS 66603


Certified mail service by the undersigned attorney, who understands that it is their responsibility to
obtain service and to make the return to the clerk. The postal receipt for service must be filed with the
Clerk's office to prove service.




                                              By: /s/ DUSTIN R CROOK
                                              DUSTIN R CROOK, #25514
                                              8801 BALLENTINE ST, STE 300
                                              OVERLAND PARK, KS 66214
                                              913-353-5870




                                                              Clerk of the District Court, Johnson County Kansas
                                                                                           07/30/19 12:42pm MM
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                                                                             19CV04072
                                                                             Div2




                                        Clerk of the District Court, Johnson County Kansas
                                                                       08/06/19 10:43am SS
